            CaseApplication
   AO 106A (08/18) 2:24-mj-04158-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    07/12/24
                                                                                    Means         Page 1 of 24 Page ID #:1


                                      UNITED STATES DISTRICT COURT
                                                    for the Central District of California

                  In the Matter of the Search of                        )
             Thirteen Parcels in the Custody of the                     )
                                                                        )        Case No. 2:24-MJ-04158
            United States Postal Inspection Service in
                 the City of Industry, California                       )
                                                                        )

      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property:
        See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
        See Attachment B
            The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                     evidence of a crime;
                     contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
            The search is related to a violation of:
              Code Section                                                   Offense Description
          21 U.S.C. § 841(a)(1)            Distribution and possession with intent to distribute a controlled substance
          21 U.S.C. § 846                  Conspiracy and attempt
          21 U.S.C. § 843(b)               Unlawful use of communication facility
            The application is based on these facts:
                  See attached Affidavit
                    Continued on the attached sheet.
          Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
        under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                      /s/ Zachary Sumpter, USPIS TFO
                                                                                                   Applicant’s signature

                                                                         TFO Zachary Sumpter, United States Postal Inspection Service
                                                                                                   Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                   Judge’s signature

City and state: Los Angeles, CA                                              Hon. Pedro V. Castillo, United States Magistrate Judge
                                                                                                   Printed name and title

AUSA: Jeremy K. Beecher (x5429)
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                              ATTACHMENT A

PARCELS TO BE SEARCHED

     The following United States Postal Service (“USPS”) parcels

seized from the mail stream between June 25, 2024, and July 2,

2024, and currently in the custody of the United States Postal

Inspection Service in City of Industry, California:

            a.   SUBJECT PARCEL 1 is a USPS Priority Mail Express

parcel bearing tracking number EI 601 276 771 US.         SUBJECT

PARCEL 1 is a brown colored, medium-sized cardboard box.

SUBJECT PARCEL 1 is addressed to “Fred Miranda, 39 Ovia Concido,

San Clemente, CA 92673.”     The return address listed on SUBJECT

PARCEL 1 is “M. Reynolds, 712 State Hwy 166, Cooperstown, NY

13326.”   SUBJECT PARCEL 1 was postmarked on June 26, 2024, in

the 13807 zip code.

            b.   SUBJECT PARCEL 2 is a USPS Priority Mail Express

parcel bearing tracking number EI 981 702 156 US.         SUBJECT

PARCEL 2 is white colored, medium-sized USPS Mailing box.

SUBJECT PARCEL 2 is addressed to “CGETC, 18385 San Jose Av (Dock

#13), CITY OF INDUSTRY. CA 91748.”         The return address listed on

SUBJECT PARCEL 2 is “Yong Lee, Falls Church Marriott Fairview #

265, 3111 Fairview park, V.A 22042.”        SUBJECT PARCEL 2 was

postmarked on June 27, 2024, in the 22116 zip code.

            c.   SUBJECT PARCEL 3 is a USPS Priority Mail Express

parcel bearing tracking number EE 340 913 450 US.         SUBJECT

PARCEL 3 is a white colored, medium-sized USPS Padded Flat Rate

Envelope.    SUBJECT PARCEL 3 is addressed to “Quamina Carter, 106

Greenbriar Lane, La Puente, CA 91744.”        The return address



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listed on SUBJECT PARCEL 3 is “Ronald Miller, 10068 Pine Grove

Way, Indianapolis, IN. 46234.”      SUBJECT PARCEL 3 was postmarked

on June 26, 2024, in the 46206 zip code.

            d.   SUBJECT PARCEL 4 is a USPS Priority Mail Express

parcel bearing tracking number EI 978 132 216 US.         SUBJECT

PARCEL 4 is a brown colored, medium-sized cardboard box.

SUBJECT PARCEL 4 is addressed to “Louis Castor, 1927 Harbor

Blvd, #396 Costa Mesa, CA 92667.”      The return address listed on

SUBJECT PARCEL 4 is “Garrett Dirks, 1115 welkins street mount

Vernon IL, 92864.”    SUBJECT PARCEL 4 was postmarked on June 24,

2024, in the 62864 zip code.

            e.   SUBJECT PARCEL 5 is a USPS Priority Mail Express

parcel bearing tracking number EI 512 016 063 US.         SUBJECT

PARCEL 5 is a white colored, medium-sized USPS Flat Rate

Envelope.    SUBJECT PARCEL 5 is addressed to “Asem Sharhan, 1960

New Ave uNit C, San Gabriel CA 91766.”       The return address

listed on SUBJECT PARCEL 5 is “280 BASAM Nahshal, 280 wyckoff

Ave, Brooklyn N.Y 11237.”     SUBJECT PARCEL 5 was postmarked on

June 25, 2024, in the 11372 zip code.

            f.   SUBJECT PARCEL 6 is a USPS Priority Mail Express

parcel bearing tracking number EI 682 417 812 US.         SUBJECT

PARCEL 6 is a white colored, medium-sized USPS Flat Rate

Envelope.    SUBJECT PARCEL 6 is addressed to “Krystal Sastre Liz,

343 S. Arroyo Dr. apt. i, San Gabriel, CA 91776.”         The return

address listed on SUBJECT PARCEL 6 is “Jacqueline Santos, 1309

Nevada Ave., Orlando FL. 32809.”      SUBJECT PARCEL 6 was

postmarked on June 26, 2024, in the 32809 zip code.



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           g.   SUBJECT PARCEL 7 is a USPS Priority Mail Express

parcel bearing tracking number EI 429 275 033 US.         SUBJECT

PARCEL 7 is a white colored, small-sized cardboard box.          SUBJECT

PARCEL 7 is addressed to “Forbidden USA, 506 Sanford Ave,

Wilmington, CA 90744.”     The return address listed on SUBJECT

PARCEL 7 is “1208 needham court, Crofton MD 21114.”         SUBJECT

PARCEL 7 was postmarked on June 25, 2024, in the 21075 zip code.

           h.   SUBJECT PARCEL 8 is a USPS Priority Mail Express

parcel bearing tracking number EI 949 436 776 US.         SUBJECT

PARCEL 8 is a white colored, medium-sized USPS Flat Rate Box.

SUBJECT PARCEL 8 is addressed to “Kevin Prieto, 2255 Molino,

Irvine, CA 92618.”    The return address listed on SUBJECT PARCEL

8 is “Dustin Macheska, 430 9th st., Red wing, MN 55066.”         SUBJECT

PARCEL 8 was postmarked on June 26, 2024, in the 55066 zip code.

           i.   SUBJECT PARCEL 9 is a USPS Priority Mail Express

parcel bearing tracking number EI 328 670 193 US.         SUBJECT

PARCEL 9 is a brown colored, small-sized cardboard box.          SUBJECT

PARCEL 9 is addressed to “Paty, 403 Park Shadow Ct., Baldwin

Park, California 91706.”     The return address listed on SUBJECT

PARCEL 9 is “Rubenia Ruyo, 662268 Hickory Hills Rd, chilton, wi

53014.”   SUBJECT PARCEL 9 was postmarked on June 24, 2024, in

the 53014 zip code.

           j.   SUBJECT PARCEL 10 is a USPS Priority Mail Express

parcel bearing tracking number EI 478 734 420 US.         SUBJECT

PARCEL 10 is a white colored, small-sized USPS Mailing Envelope.

SUBJECT PARCEL 10 is addressed to “Mark Groce, 365 N. Magnolia

Ave, Anaheim Ca. 92801.”     The return address listed on SUBJECT



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PARCEL 10 is “Yvonne Webb, 238 Harrison Rd., Norlina N.C.

27563.”   SUBJECT PARCEL 10 was postmarked on June 27, 2024, in

the 27589 zip code.

           k.   SUBJECT PARCEL 11 is a USPS Priority Mail parcel

bearing tracking number 9505 5139 5423 4169 6697 10.          SUBJECT

PARCEL 11 is a white colored, medium-sized USPS Flat Rate Box.

SUBJECT PARCEL 11 is addressed to “Willam Rashord, 23785 El Toro

Rd #208, Lake forest, CA 92630.”      The return address listed on

SUBJECT PARCEL 11 is “Allison wood, 638 inman St Akron oh

44306.”   SUBJECT PARCEL 11 was postmarked on June 17, 2024, in

the 44309 zip code.

           l.   SUBJECT PARCEL 12 is a USPS Priority Mail parcel

bearing tracking number 9505 5139 5425 4173 3034 31.          SUBJECT

PARCEL 12 is a white colored, medium-sized USPS Mailing Box.

SUBJECT PARCEL 12 is addressed to “23785 El Toro Rd, Lake

forest, CA 92630.”    The return address listed on SUBJECT PARCEL

12 is “Allison wood, 638 inman St Akron oh 44306.”         SUBJECT

PARCEL 12 was postmarked on June 21, 2024, in the 44309 zip

code.

           m.   SUBJECT PARCEL 13 is a USPS Priority Mail parcel

bearing tracking number 9505 5139 5423 4169 6696 97.          SUBJECT

PARCEL 13 is a white colored, medium-sized USPS Flat Rate Box.

SUBJECT PARCEL 13 is addressed to “Tom Lee, 23785 El Toro Rd

#30078, Lake forest, CA 92630.”      The return address listed on

SUBJECT PARCEL 13 is “Allison wood, 638 inman St Akron oh

44306.”   SUBJECT PARCEL 13 was postmarked on June 17, 2024, in

the 44309 zip code.



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                              ATTACHMENT B

ITEMS TO BE SEIZED

     The items to be seized are evidence, contraband, fruits,

and instrumentalities of violations of Title 21, United States

Code, Sections 841(a)(1) (distribution and possession with

intent to distribute a controlled substance), 846 (conspiracy to

distribute or possess with intent to distribute a controlled

substance), and 843(b) (unlawful use of a communication

facility, including the mails, to facilitate the distribution of

a controlled substance), namely:

            a.   Any controlled substances;

            b.   Currency, money orders, bank checks, or similar

monetary instruments in aggregate quantities over $1,000; and

            c.   Parcel wrappings, and any associated packaging

material.




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                               AFFIDAVIT

     I, Zachary Sumpter, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of an application

for a warrant to search the following ten United States Postal

Service (“USPS”) Priority Mail Express parcels and three USPS

Priority Mail parcels in the custody of the United States Postal

Inspection Service (“USPIS”) in City of Industry, California,

within the Central District of California (collectively, the

“SUBJECT PARCELS”), as described more fully in Attachment A:

           a.   A USPS Priority Mail Express parcel bearing

tracking number EI 601 276 771 US (“SUBJECT PARCEL 1”);

           b.   A USPS Priority Mail Express parcel bearing

tracking number EI 981 702 156 US (“SUBJECT PARCEL 2”);

           c.   A USPS Priority Mail Express parcel bearing

tracking number EE 340 913 450 US (“SUBJECT PARCEL 3”);

           d.   A USPS Priority Mail Express parcel bearing

tracking number EI 978 132 216 US (“SUBJECT PARCEL 4”);

           e.   A USPS Priority Mail Express parcel bearing

tracking number EI 512 016 063 US (“SUBJECT PARCEL 5”);

           f.   A USPS Priority Mail Express parcel bearing

tracking number EI 682 417 812 US (“SUBJECT PARCEL 6”);

           g.   A USPS Priority Mail Express parcel bearing

tracking number EI 429 275 033 US (“SUBJECT PARCEL 7”);

           h.   A USPS Priority Mail Express parcel bearing

tracking number EI 949 436 776 US (“SUBJECT PARCEL 8”);
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          i.    A USPS Priority Mail Express parcel bearing

tracking number EI 328 670 193 US (“SUBJECT PARCEL 9”);

          j.    A USPS Priority Mail Express parcel bearing

tracking number EI 478 734 420 US (“SUBJECT PARCEL 10”);

          k.    A USPS Priority Mail parcel bearing tracking

number 9505 5139 5423 4169 6697 10 (“SUBJECT PARCEL 11”);

          l.    A USPS Priority Mail parcel bearing tracking

number 9505 5139 5425 4173 3034 31 (“SUBJECT PARCEL 12”); and

          m.    A USPS Priority Mail parcel bearing tracking

number 9505 5139 5423 4169 6696 97 (“SUBJECT PARCEL 13”).

     2.   The requested search warrant seeks authorization to

seize evidence, fruits, and instrumentalities of violations of

Title 21, United States Code, Sections 841(a)(1) (distribution

and possession with intent to distribute a controlled

substance), 846 (conspiracy to distribute or possess with intent

to distribute a controlled substance), and 843(b) (unlawful use

of a communication facility, including the mails, to facilitate

the distribution of a controlled substance), as described more

fully in Attachment B.     Attachments A and B are incorporated by

reference herein.

     3.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all



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conversations and statements described in this affidavit are

related in substance and in part only.

                      II. TRAINING AND EXPERIENCE

     4.     I am a Task Force Officer (“TFO”) with the United

States Postal Inspection Service (“USPIS”) and have been since

November 2021.    I am currently assigned as a TFO to the

Contraband Interdiction and Investigations South Team of the Los

Angeles Division, which is responsible for investigating drug

trafficking involving the United States Mail.        Accordingly, I am

an “investigative or law enforcement officer” of the United

States within the meaning of Title 18, United States Code,

Section 2510(7).    Specifically, I am an officer of the United

States empowered by law to conduct investigations of, and to

make arrests for, offenses enumerated in Title 18, United States

Code, Section 2516.    Prior to being assigned as a TFO with the

USPIS, I worked as a full-time sworn law enforcement officer

with the Chino Police Department.

     5.     I have received training and have experience

investigating violations of state and federal narcotics and

money laundering laws.     I have been involved in various

electronic surveillance methods including state and federal

wiretap investigations, the debriefing of informants and

witnesses, as well as others who have knowledge of the

manufacturing, distribution, transportation, storage, and

importation of controlled substances, and the laundering of drug

proceeds.    I have participated in many aspects of drug

investigations, including investigations into the smuggling of



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illegal drugs, money laundering, and extortion related to drug

trafficking.    I am familiar with narcotics traffickers’ methods

of operation, including the manufacturing, storage,

transportation, and distribution of narcotics, the collection of

money that represents the proceeds of narcotics trafficking, and

money laundering.     I am familiar with how drug traffickers use

counter-surveillance techniques to avoid detection by law

enforcement.

                    III. SUMMARY OF PROBABLE CAUSE
      6.   Between June 25, 2024, and July 2, 2024, during

routine parcel inspections at the City of Industry USPS

Processing and Distribution Center in Los Angeles County,

California, I identified the SUBJECT PARCELS as meeting some of

the following criteria common to packages containing contraband:

they were excessively taped, contained handwritten labels,

lacked business account numbers, and/or contained sender and

recipient names that were not associated with their respective

listed addresses, according to law enforcement databases.

      7.   On July 3, 2024, a trained drug detection dog alerted

to each of the SUBJECT PARCELS for the presence of drugs or

other items, such as the proceeds of drug sales that have been

contaminated by drugs.

                    IV. STATEMENT OF PROBABLE CAUSE

      A.   Background on Use of Mails for Drug Trafficking

      8.   Based on my training and experience as a TFO, and the

experiences related to me by Postal Inspectors who specialize in

drug investigations, I know the following:



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            a.   Los Angeles is a significant source area for

controlled substances. Controlled substances are frequently

transported from the Los Angeles area via US Mail, and the

proceeds from the sale of controlled substances are frequently

returned to the Los Angeles area via US Mail. These proceeds are

generally in the form of money orders, bank checks, or similar

monetary instruments in an amount over $1,000. Based on my

training and experience, I know that proceeds from the sale of

controlled substances often contain the odor of drugs because

they have been contaminated by or associated with the odor of

one or more drugs.

            b.   Drug distributors often use USPS Priority Mail

Express, which is the USPS overnight/next day delivery mail

product, or Priority Mail Service, which is the USPS two-to-

three-day delivery mail product.       Drug distributors use the

Priority Mail Express delivery service because of its speed,

reliability, and the ability to track the parcel’s progress to

delivery.    Drug distributors use the Priority Mail delivery

service because it provides them more time for travel between

states if they decide to follow their shipments to their

destination for distribution.       Also, by adding delivery

confirmation to a Priority Mail parcel, drug traffickers have

the ability to track the parcel’s progress to the intended

delivery point, as if the parcel had been mailed using the

Priority Mail 2-Day Service.

      9.    The following indicia suggest that a parcel may

contain drugs or drug distribution proceeds:



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            a.   The parcel is contained in a Large Flat Rate

cardboard box;

            b.   The parcel bears a handwritten or typed label,

whether USPS Express Mail or Priority Mail;

            c.   The handwritten or typed label on the parcel does

not contain a business account number;

            d.   The seams of the parcel are all taped or glued

shut;

            e.   The parcel emits an odor of a cleaning agent or

adhesive or spray foam that can be detected by a human; and

            f.   Multiple parcels are mailed by the same

individual, on the same day, from different locations.

      10.   Parcels exhibiting such indicia may be subject to

further investigation, which may include verification of the

addressee and return addresses.

      11.   I know from my training and experience that drug

traffickers often use fictitious or incomplete names and

addresses in an effort to conceal their identities from law

enforcement officers investigating these types of cases.           To the

extent that real addresses are ever used, it is only to lend a

legitimate appearance to the parcel and is almost always paired

with a false name.

      B.    Initial Investigation of the SUBJECT PARCELS

      12.   Between June 25, 2024, and July 2, 2024, during

routine parcel inspections at the City of Industry USPS

Processing and Distribution Center in Los Angeles County,

California, I determined that the SUBJECT PARCELS met some of



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the initial suspicious characteristics as described above.

Specifically, I determined the following:

           a.    SUBJECT PARCEL 1 is a USPS Priority Mail Express

parcel bearing tracking number EI 601 276 771 US.          SUBJECT

PARCEL 1 is a brown colored, medium-sized cardboard box.

SUBJECT PARCEL 1 is wrapped in copious amounts of tape, has a

handwritten label, and does not contain a business account

number.   According to CLEAR 1 database records, the return address

listed on SUBJECT PARCEL 1 – “712 State Hwy 166, Cooperstown, NY

13326” – appears to be a legitimate address and is associated

with the listed sender, “M. Reynolds.”        The recipient address

listed on SUBJECT PARCEL 1 – “39 Ovia Concido, San Clemente, CA

92673” – appears to be a legitimate address but is not

associated with the listed recipient, “Fred Miranda.”

           b.    SUBJECT PARCEL 2 is a USPS Priority Mail Express

parcel bearing tracking number EI 981 702 156 US.          SUBJECT

PARCEL 2 is white colored, medium-sized USPS Mailing box.

SUBJECT PARCEL 2 has a handwritten label, and does not contain a

business account number.      According to CLEAR database records,

the return address listed on SUBJECT PARCEL 2 – “Falls Church

Marriott Fairview # 265, 3111 Fairview park, V.A 22042” -

appears to be a legitimate address, but is not associated with

the listed sender, “Yong Lee.”       The recipient address listed on

SUBJECT PARCEL 2 – “18385 San Jose Av (Dock #13), CITY OF



      1CLEAR is a public information database used by law
enforcement that provides names, addresses, telephone numbers,
and other identifying information.


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INDUSTRY. CA 91748” - appears to be a legitimate address, but is

not associated with the listed recipient, “CGETC.”

            c.   SUBJECT PARCEL 3 is a USPS Priority Mail Express

parcel bearing tracking number EE 340 913 450 US.          SUBJECT

PARCEL 3 is a white colored, medium-sized USPS Padded Flat Rate

Envelope.    SUBJECT PARCEL 3 has a handwritten label, and does

not contain a business account number.         According to CLEAR

database records, the return address listed on SUBJECT PARCEL 3

– “10068 Pine Grove Way, Indianapolis, IN. 46234” - appears to

be a legitimate address, and is associated with the listed

sender, “Ronald Miller.”      The recipient address listed on

SUBJECT PARCEL 3 – “106 Greenbriar Lane, La Puente, CA 91744”

appears to be a legitimate address, and is associated with the

listed recipient, “Quamina Carter.”         Based on my training and

experience, I know that drug traffickers will sometimes use real

names to appear legitimate in attempt to deter law enforcement.

            d.   SUBJECT PARCEL 4 is a USPS Priority Mail Express

parcel bearing tracking number EI 978 132 216 US.          SUBJECT

PARCEL 4 is a brown colored, medium-sized cardboard box.

SUBJECT PARCEL 4 is wrapped in copious amounts of clear tape,

has a handwritten label, and does not contain a business account

number.   According to CLEAR database records, the return address

listed on SUBJECT PARCEL 4 – “1115 welkins street mount Vernon

IL, 92864” - appears to be legitimate address, and is associated

with the listed sender, “Garrett Dirks.”         The recipient address

listed on SUBJECT PARCEL 4 – “1927 Harbor Blvd, #396 Costa Mesa,

CA 92667” - appears to be a legitimate address, but is not



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associated with the listed recipient, “Louis Castor.”

            e.    SUBJECT PARCEL 5 is a USPS Priority Mail Express

parcel bearing tracking number EI 512 016 063 US.          SUBJECT

PARCEL 5 is a white colored, medium-sized USPS Flat Rate

Envelope.    SUBJECT PARCEL 5 has a handwritten label and does not

contain a business account number.          According to CLEAR database

records, the return address listed on SUBJECT PARCEL 5 – “280

wyckoff Ave, Brooklyn N.Y 11237” - appears to be legitimate

address, but is not associated with the listed sender, “280

BASAM Nahshal.”    The recipient address listed on SUBJECT PARCEL

5 – “1960 New Ave uNit C, San Gabriel CA 91766” - appears to be

a legitimate address, but is not associated with the listed

recipient, “Asem Sharhan.”

            f.    SUBJECT PARCEL 6 is a USPS Priority Mail Express

parcel bearing tracking number EI 682 417 812 US.          SUBJECT

PARCEL 6 is a white colored, medium-sized USPS Flat Rate

Envelope.    SUBJECT PARCEL 6 has a handwritten label and does not

contain a business account number.          According to CLEAR database

records, the return address listed on SUBJECT PARCEL 6 – “1309

Nevada Ave., Orlando FL. 32809” - appears to be legitimate

address, and is associated with the listed sender, “Jacqueline

Santos.”     The recipient address listed on SUBJECT PARCEL 6 –

“343 S. Arroyo Dr. apt. i, San Gabriel, CA 91776” - appears to

be a legitimate address, but is not associated with the listed

recipient, “Krystal Sastre Liz.”

            g.    SUBJECT PARCEL 7 is a USPS Priority Mail Express

parcel bearing tracking number EI 429 275 033 US.          SUBJECT



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PARCEL 7 is a white colored, small-sized cardboard box.           SUBJECT

PARCEL 7 is wrapped in clear tape, has a handwritten label, and

does not contain a business account number.         According to CLEAR

database records, the return address listed on SUBJECT PARCEL 7

– “1208 needham court, Crofton MD 21114” - appears to be

legitimate address, but SUBJECT PARCEL 7 does not have a listed

sender name.    The recipient address listed on SUBJECT PARCEL 7 –

“506 Sanford Ave, Wilmington, CA 90744” - appears to be a

legitimate address, and is associated with the listed recipient,

“Forbidden USA.”

           h.    SUBJECT PARCEL 8 is a USPS Priority Mail Express

parcel bearing tracking number EI 949 436 776 US.          SUBJECT

PARCEL 8 is a white colored, medium-sized USPS Flat Rate Box.

SUBJECT PARCEL 8 is wrapped in clear tape, has a handwritten

label, and does not contain a business account number.

According to CLEAR database records, the return address listed

on SUBJECT PARCEL 8 – “430 9th st., Red wing, MN 55066” - appears
to be legitimate address, but is not associated with the listed

sender, “Dustin Macheska.”      The recipient address listed on

SUBJECT PARCEL 8 – “2255 Molino, Irvine, CA 92618” - appears to

be legitimate address, but is not associated with the listed

sender, “Kevin Prieto.”

           i.    SUBJECT PARCEL 9 is a USPS Priority Mail Express

parcel bearing tracking number EI 328 670 193 US.          SUBJECT

PARCEL 9 is a brown colored, small-sized cardboard box.           SUBJECT

PARCEL 9 is wrapped in copious amounts of clear tape, has a

handwritten label, and does not contain a business account



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number.   According to CLEAR database records, the return address

listed on SUBJECT PARCEL 9 – “662268 Hickory Hills Rd, chilton,

wi 53014” - appears to be legitimate address, but is not

associated with the listed sender, “Rubenia Ruyo.”          The

recipient address listed on SUBJECT PARCEL 9 – “403 Park Shadow

Ct., Baldwin Park, California 91706” - appears to be legitimate

address, but is not associated with the listed sender, “Paty.”

           j.    SUBJECT PARCEL 10 is a USPS Priority Mail Express

parcel bearing tracking number EI 478 734 420 US.          SUBJECT

PARCEL 10 is a white colored, small-sized USPS Mailing Envelope.

SUBJECT PARCEL 10 has a handwritten label, has no phone numbers

for either the sender or recipient, and does not contain a

business account number.      According to CLEAR database records,

the return address listed on SUBJECT PARCEL 10 – “238 Harrison

Rd., Norlina N.C. 27563” - appears to be legitimate address, and

is associated with the listed sender, “Yvonne Webb.”           The

recipient address listed on SUBJECT PARCEL 10 – “365 N. Magnolia

Ave, Anaheim Ca. 92801” - appears to be legitimate address, and

is associated with the listed sender, “Mark Groce.”          Based on my

training and experience, I know that drug traffickers will

sometimes use real names to appear legitimate in attempt to

deter law enforcement.

           k.    SUBJECT PARCEL 11 is a USPS Priority Mail parcel

bearing tracking number 9505 5139 5423 4169 6697 10.           SUBJECT

PARCEL 11 is a white colored, medium-sized USPS Flat Rate Box.

SUBJECT PARCEL 11 has a handwritten label and does not contain a

business account number.      According to CLEAR database records,



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the return address listed on SUBJECT PARCEL 11 – “638 inman St

Akron oh 44306” - appears to be legitimate address, but is not

associated with the listed sender, “Allison wood.”          The

recipient address listed on SUBJECT PARCEL 11 – “23785 El Toro

Rd #208, Lake forest, CA 92630” - appears to be legitimate

address, but is not associated with the listed sender, “Willam

Rashord.”

            l.   SUBJECT PARCEL 12 is a USPS Priority Mail parcel

bearing tracking number 9505 5139 5425 4173 3034 31.           SUBJECT

PARCEL 12 is a white colored, medium-sized USPS Mailing Box.

SUBJECT PARCEL 12 has a handwritten label and does not contain a

business account number.      According to CLEAR database records,

the return address listed on SUBJECT PARCEL 12 – “638 inman St

Akron oh 44306” - appears to be legitimate address, but is not

associated with the listed sender, “Allison wood.”          The

recipient address listed on SUBJECT PARCEL 12 – “23785 El Toro

Rd, Lake forest, CA 92630” - appears to be legitimate address,

but has no recipient name listed.

            m.   SUBJECT PARCEL 13 is a USPS Priority Mail parcel

bearing tracking number 9505 5139 5423 4169 6696 97.           SUBJECT

PARCEL 13 is a white colored, medium-sized USPS Flat Rate Box.

SUBJECT PARCEL 13 has a handwritten label and does not contain a

business account number.      According to CLEAR database records,

the return address listed on SUBJECT PARCEL 13 – “638 inman St

Akron oh 44306” - appears to be legitimate address, but is not

associated with the listed sender, “Allison wood.”          The

recipient address listed on SUBJECT PARCEL 13 – “23785 El Toro



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Rd #30078, Lake forest, CA 92630” - appears to be legitimate

address, but is not associated with the listed sender, “Tom

Lee.”

      C.    Drug-Detection Dog Alerts to the SUBJECT PARCELS

      13.   On July 3, 2024, based on the suspicious

characteristics of the SUBJECT PARCELS, Chino Police Department

Corporal Angel Bran had his trained drug detection dog, “Cyra,”

examine the exterior of the SUBJECT PARCELS.         I learned from

Corporal Bran that Cyra gave a positive alert to SUBJECT PARCEL

1 through SUBJECT PARCEL 13 separately, indicating the presence

of controlled substances or other items, such as the proceeds of

controlled substances, which have been recently contaminated

with the odor of controlled substances.        Attached hereto as

Exhibit 1 are documents setting forth information provided by

Corporal Bran regarding Cyra’s training and history in detecting

controlled substances, and the examination of SUBJECT PARCELS 1

through 13.

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                              V. CONCLUSION

      14.   For the reasons above, there is probable cause to

believe that the SUBJECT PARCELS, as described in Attachment A,

contain evidence, fruits, and instrumentalities of violations of

Title 21, United States Code, Sections 841(a)(1) (distribution

and possession with intent to distribute a controlled

substance); 846 (conspiracy to distribute or possess with intent

to distribute a controlled substance); and 843(b) (unlawful use

of a communication facility, including the mails, to facilitate

the distribution of a controlled substance), as described in

Attachment B.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 12th day of July
2024.



HONORABLE PEDRO V. CASTILLO
UNITED STATES MAGISTRATE JUDGE




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                      EXHIBIT 1
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                                                                                                    1


                                       AFFIDAVIT
                            HANDLER ANGEL BRAN AND K9 “CYRA”

                                         DECLARATION
        I, Corporal Angel Bran, being duly sworn, declare and state: I am a sworn Peace Officer
within the meaning of California Penal Code § 830.1.

                                        TRAINING AND EXPERIENCE
        I am a Senior Canine Handler for the Chino Police Department and have been assigned
to the Canine Unit since 2018. The Canine Unit is currently assigned to the Patrol Bureau and I
assist Postal Interdiction, which is responsible for investigating drug trafficking organizations
that use parcels to distribute illegal narcotics and/or narcotics proceeds through the United
States Mail. I have worked closely with USPIS Inspectors since September 2020 and have
assisted in parcel investigations which have resulted in the arrest of individuals who have
received and distributed controlled substances.

        I have been a Peace Officer since 2013 and have been present at hundreds of drug
investigations since the start of my career. I frequently investigate and assist other Peace
Officers in crimes related to illicit drug manufacturing, transportation/trafficking, sales, and
other associated drug violations. I have made hundreds of arrests throughout the course of my
career in the area of narcotics which were successfully prosecuted. I have received formal
training from the San Bernardino County Sheriff’s Department, Chino Police Department and
the California Narcotic Officers’ Association on drug recognition and symptomology.

                       NARCOTICS K9 TEAM CORPORAL BRAN AND K9 CYRA
                                 TRAINING AND CERTIFICATIONS
         In May 2019, I attended a six-week handler course taught by Adlerhorst, in Jurupa
Valley, California. I received 240 hours of instruction in basic police dog handling skills with
Police Service Dog (PSD) Cyra. PSD Cyra and I were certified as a patrol team in August 2019.
In August 2020, PSD Cyra and I attended a six-week drug detection course taught by Adlerhorst.
During this course, PSD Cyra and I receive 240 hours of instruction in the detection of the odor
of illegal drugs. In September 2020, PSD Cyra and I passed a certification test in the detection
of the odor of illegal drugs. During this course, I personally observed PSD Cyra alert to the
presence of the odor of an illegal drug. I am familiar and knowledgeable in the behavior’s PSD
Cyra engages in when she detects the odor of illegal drugs. PSD Cyra is trained to detect the
odors of the following controlled substances: methamphetamine, cocaine, heroin, and
marijuana.

         In November of 2020, PSD Cyra and I were recertified in patrol operations by Adlerhorst.
In September 2021, 2022, and 2023 PSD Cyra and I were recertified as a patrol team (patrol
operations and drug detection) by the Los Angeles County Police Canine Association. I do
continual training with PSD Cyra through Adlerhorst, which consists of monthly maintenance
for patrol operations and drug detection. During the drug detection training with Adlerhorst,
all the trainings are conducted “single blind” (where the result is unknown to the handler).
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Single blind certification and proficiency assessments ensure that the handler cannot “cue” the
dog, as the handler does not know the result. All K9 Cyra’s certifications and training are
conducted using real contraband that has been tested and confirmed as such.

       In addition, PSD Cyra conducts training out in the field during patrol or at training sites
hosted by different police departments. The training includes various hiding locations including,
but not limited to: vehicles, buildings, bags, parcels, and open areas. This training also includes
proofing PSD Cyra on novel odors such as: plastic, boxes, latex, tape, metal, money (circulated
and uncirculated) and food. I also proof PSD Cyra off my human odor. This training is on-going
and continual.

On 7/3/2024 at approximately 1130 hours, Postal Inspector Sumpter asked the assistance of
PSD Cyra and I in a narcotic parcel investigation. PSD Cyra alerted to the presence of the odor
of an illegal drug emitting from the following:

USPS parcel #1: EI 601 276 771 US
Addressed to: Fred Miranda
              39 Ovia Concido
              San Clemente, CA 92673

USPS parcel #2: EI 981 702 156 US
Addressed to: CGETC
              18385 San Jose Av (Dock #13)
              City of Industry, CA 91748

USPS parcel #3: EE 340 913 450 US
Addressed to: Quamina Carter
              106 Greenbriar Lane
              La Puente, CA 91744

USPS parcel #4: EI 978 132 216 US
Addressed to: Louis Castor
              1927 Harbor Blvd #396
              Costa Mesa, CA 92627

USPS parcel #5: EI 512 016 063 US
Addressed to: Asem Sharhan
              1960 New Ave Unit C
              San Gabriel, CA 91776

USPS parcel #6: EI 682 417 812 US
Addressed to: Krystal Sastre Liz
              343 S. Arroyo Dr. Apt I
              San Gabriel, CA 91776
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USPS parcel #7: EI 429 275 033 US
Addressed to: Forbidden USA
              506 Sanford Ave
              Wilmington, CA 90744

USPS parcel #8: EI 949 436 776 US
Addressed to: Kevin Prieto
              2255 Molino
              Irvine, CA 92618

USPS parcel #9: EI 328 670 193 US
Addressed to: Paty
              403 Park Shadow Ct.
              Baldwin Park, California 91706

USPS parcel #10: EI 478 734 420 US
Addressed to: Mark Groce
              365 N. Magnolia Ave
              Anaheim, CA 92801

USPS parcel #11: 9505 5139 5423 4169 6697 10
Addressed to: William Rushord
              23785 El Toro Rd. #208
              Lake Forest, CA 92630

USPS parcel #12: 9505 5139 5425 4173 3034 31
Addressed to:
              234859 El Toro Rd.
              Lake Forest, CA 92630

USPS parcel #13: 9505 5139 5423 4169 6696 97
Addressed to: Tommy Lee
              23785 El Toro Rd. #30078
              Lake Forest, CA 92630



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                                                     K9 Officer Angel Bran ID#3655
                                                          Chino Police Department
